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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________
DYNAMIC ENERGY SOLUTIONS, LLC,

                                     Plaintiff,            No. 3:18-cv-884 (TJM/DEP)

                                                           JURY TRIAL DEMANDED
                      v.
                                                           COMPLAINT

SCOTT PINNEY, DISTRIBUTED SUN, LLC,
and SUN8 PDC LLC,

                              Defendants.
____________________________________________

       Plaintiff DYNAMIC ENERGY SOLUTIONS, LLC (“Dynamic”), by its undersigned

attorneys, Bond, Schoeneck & King, PLLC and Walden Macht & Haran LLP, for its Complaint,

alleges as follows:

                                      INTRODUCTION

       1.      This case arises from (a) a breach by Defendant SCOTT PINNEY (“Pinney”) of a

contract to lease to Dynamic real property located in Tompkins County, NY, and (b) a

subsequent strategic lawsuit against public participation (“SLAPP”) against Dynamic by

Defendants DISTRIBUTED SUN, LLC (“Distributed Sun”) and SUN8 PDC LLC (“Sun8” and,

together with Distributed Sun, “Sun Defendants”).

       2.      Dynamic is a full service solar energy solutions provider that brings together the

diverse expertise needed to design, finance, build, and maintain solar energy projects for

commercial, institutional, and utility clients. As relevant here, Dynamic is in the business of

building photovoltaic power stations (commonly called “solar projects” or “solar farms”) that

harvest sunlight and convert it to electricity on a large scale. Companies such as Dynamic make


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a profit in several ways, including by selling the harvested electricity back into the energy grid or

by selling or leasing the solar farm to another party.         Dynamic also earns profit as the

engineering, procurement, and construction contractor on its solar developments.

       3.      Dynamic has developed over 100 commercial and institutional solar energy

systems in several states. Its customers include private institutions such as the YMCA, hospitals

such as St. Peter’s Hospital in Albany, and government agencies such as the Town of Fairhaven,

MA, and the Philadelphia Water Department.

       4.      Consistent with this business function, in approximately June 2016, Dynamic

executed a Site Lease Option Agreement (the “Dynamic Lease Option”) with Pinney. The

Dynamic Lease Option gave Dynamic an exclusive 18-month option to lease a 15-acre parcel of

land (the “Dynamic Parcel”) that was situated on a larger, 157-acre property owned by Pinney at

2150 Dryden Road in the Town of Dryden, New York (the “Subject Property”). Securing the

rights to development property was a necessary precondition for Dynamic prior to obtaining the

licenses, permits, and funding, including a lucrative state grant, it needed to develop a solar farm.

It also afforded Dynamic the opportunity to conduct due diligence on the feasibility of the solar

project, knowing that it had secured reliable development property.

       5.      A few months after Pinney entered into the Dynamic Lease Option with Dynamic

(i.e., during Dynamic’s exclusive window), Pinney leased the exact same property to Dynamic’s

competitor, Sun8, a wholly-owned subsidiary of Distributed Sun. Pinney’s lease with Sun8 (the

“Sun8 Lease”) covered the entire Subject Property, necessarily subsuming the Dynamic Parcel.

Pinney informed Dynamic of the Sun8 Lease only after Dynamic attempted to exercise its option

to lease the Dynamic Parcel under the Dynamic Lease Option.




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        6.     By that time, Dynamic had already expended substantial cost and effort to apply

for and obtain necessary approvals to make its proposed project feasible. Dynamic had also

applied for, and was awarded, a grant from New York State’s renewable energy agency,

NYSERDA, of approximately $1.05 million, which was restricted to use only on the Subject

Property—which had now been leased to Sun8, meaning that the grant would have to be

forfeited.

        7.     Facing a major economic loss, Dynamic contacted Pinney and the Sun Defendants

seeking to propose a mutually acceptable solution. The Sun Defendants refused Dynamic’s

proposal, and Pinney, for his part, doubled down on his breach of the Dynamic Lease Option by

recording the Sun8 Lease for Sun8’s benefit, and issuing an “estoppel certificate” to Sun8 stating

that the Sun8 Lease had priority to the land.

        8.     As a result of Pinney’s breach, Dynamic lost the unique opportunity to build a

solar farm on the Dynamic Parcel, resulting in millions of dollars of damages—including wasted

cost outlays, loss of the state grant, loss of expected profit, loss of the value of its development,

and wasted time.

        9.     Meanwhile, the Sun Defendants applied for permits, zoning changes, licenses,

and/or other permission from the Town of Dryden (the “Town”) to build their proposed solar

farm on the Subject Property.

        10.    Shortly after these initial applications—which occurred in the immediate

aftermath of Dynamic’s discovery of the Sun8 Lease, and before Sun8 and Pinney had rejected

Dynamic’s overtures to find a solution to the competing property claims—Dynamic’s General

Counsel sent a letter to the Town’s supervisor, requesting that the Town take no action on the

Sun Defendants’ pending applications until the parties could discuss and resolve their dispute.




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       11.    On the basis of this communication, along with other unspecified “contact[] with

[T]own officials, members of the Dryden Planning Board and/or Town Board, and [T]own

residents,” the Sun Defendants sued Dynamic in New York State Supreme Court, Tompkins

County, in an action titled Sun8 PDC LLC v. Scott Pinney and Dynamic Energy Solutions, LLC,

Index No. 2017-0241 (the “Sun8 Lawsuit,” attached hereto as Exhibit 1), for, among other

things, tortious interference with contract (the “TIWC Claim”).

       12.    Accordingly, and for the reasons described below, the Sun Defendants thereby

violated New York’s anti-SLAPP statutes.

       13.    The Sun8 Lawsuit qualifies as a SLAPP suit under New York Civil Rights Law

§ 70-a because (a) it was commenced by public applicants (Distributed Sun and Sun8) and, (b)

by its own terms, it was materially related to Dynamic’s alleged efforts to challenge or oppose

these Defendants’ public application.

       14.    As described in detail below, the TIWC Claim could not possibly have had a

substantial basis in fact and law, nor could it possibly have been supported by a substantial

argument for the extension, modification or reversal of existing law. The claim was so frivolous

that Sun8 eventually voluntarily discontinued it following a fully-briefed motion to dismiss and

other unnecessary motion practice. Accordingly, Dynamic is entitled to costs and attorney’s fees

under New York Civil Rights Law §§ 70-a(a).1

       15.    As further demonstrated below, moreover, the Sun Defendants filed the SLAPP

suit to harass, intimidate, punish, or otherwise inhibit Dynamic’s free exercise of its speech,

petition, or association rights. This intent is manifestly clear from the Sun Defendants’ own

       1
          Section 70-a(a) provides that “costs and attorney's fees may be recovered upon a
demonstration that the action involving public petition and participation was commenced or
continued without a substantial basis in fact and law and could not be supported by a substantial
argument for the extension, modification or reversal of existing law.”


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statements. Distributed Sun’s Chief Executive Officer (“CEO”) called Dynamic’s CEO and

threatened to “f@$% [Dynamic] up.” Distributed Sun directed the filing of the Sun8 Lawsuit the

next day. Accordingly, Dynamic is entitled to compensatory damages under New York Civil

Rights Law §§ 70-a(b),2 and punitive damages under New York Civil Rights Law §§ 70-a(c).3

                                        THE PARTIES

       16.     Plaintiff Dynamic Energy Solutions, LLC, is a full-service solar energy provider

located at 1550 Liberty Ridge Drive, Suite 310, Wayne, Pennsylvania 19087. Every member of

Dynamic Energy Solutions, LLC is a resident of Pennsylvania.

       17.     Defendant Scott Pinney is the owner of the Subject Property. He resides in

Ithaca, New York.

       18.     Upon information and belief, Defendant Distributed Sun is a solar energy

developer, organized under the laws of the State Delaware and with a principal place of business

in Washington, D.C.     Upon information and belief, none of its direct or indirect members is a

citizen of the State of Pennsylvania.

       19.     Upon information and belief, Defendant Sun8 is a wholly owned subsidiary of

Distributed Sun.




       2
          Section 70-a(b) provides that compensation damages are available “upon an additional
demonstration that the action involving public petition and participation was commenced or
continued for the purpose of harassing, intimidating, punishing or otherwise maliciously
inhibiting the free exercise of speech, petition or association rights.”
       3
            Section 70-a(c) provides that punitive damages are available “upon an additional
demonstration that the action involving public petition and participation was commenced or
continued for the sole purpose of harassing, intimidating, punishing or otherwise maliciously
inhibiting the free exercise of speech, petition or association rights.”


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                                  JURISDICTION AND VENUE

        20.     This Court has jurisdiction over the subject matter of this case, under 28 U.S.C. §

1332, because the Parties are citizens of different States and the amount in controversy exceeds

$75,000.

        21.     Venue is properly in the district pursuant to 28 U.S.C. § 1391 because Defendant

Pinney resides in this District and because a substantial part of the events and omissions giving

rise to the claims set forth herein occurred in this District.

                                               FACTS

                                    Pinney’s Breach of Contract

Dynamic and Pinney Agree to the Dynamic Lease Option

        22.     On November 12, 2014, Dynamic entered an agreement with Ron Szymanski, a

land broker in Tompkins County, New York, for Szymanski to identify property in New York

appropriate for developing a solar farm. Upon information and belief, Pinney and Szymanski

also had an agency relationship with each other, whereby Szymanski would seek a suitor to lease

Pinney’s property.

        23.     Szymanski contacted Dynamic on or about September 24, 2015, with a

recommendation to seek to lease a parcel on the Subject Property. A representative of Dynamic

conducted a site visit to the Subject Property on or about October 21, 2015, and determined that

the land was suitable for development of a solar farm.

        24.     Accordingly, with Szymanski acting as an intermediary, Dynamic and Pinney

negotiated an option to lease land on the Subject Property. Under the proposed option, Dynamic

would pay Pinney a fee and in exchange would receive, for an agreed-upon duration, the

exclusive right to lease land. This exclusive window would give Dynamic the opportunity to

conduct due diligence, apply for permits and grants, and to otherwise examine the economic


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feasibility of its prospective solar project. The negotiations with Pinney began in approximately

winter or spring 2016 and culminated in approximately June 2016. During this time, upon

information and belief, Pinney authorized Szymanski to negotiate on Pinney’s behalf.

       25.     Finally, in May and June 2016, Dynamic and Pinney, with Szymanski as

intermediary, agreed to proceed with a lease option for a parcel of approximately 15 acres (the

“Dynamic Parcel”) within the Subject Property. They drafted a Site Lease Option Agreement

(the “Dynamic Lease Option”) and delineated the boundaries of the Dynamic Parcel by

exchanging written descriptions of the property as well as exchanging an annotated map. On or

about June 10, 2016, the parties finalized the description of the Dynamic Parcel, which they

circulated as Attachment 1 to the Dynamic Lease Option. The language was as follows: “A

portion of real property of about 15 acres contained within Tax Map# 38.-1-3.1, Town of

Dryden, Tompkins County, New York, located at 2150 Dryden Road, Dryden, NY 13053. The

western boundary described at property line found in Deed 59828/8001. The southern boundary

along property line shared with cemetery to a point near main entrance. The eastern boundary

will run North from main entrance no more than 500 ft to a point. From that point, the northern

boundary completing the solar facility parcel will run approximately parallel to the southern

boundary to the western boundary line.”

       26.     By the terms of the Dynamic Lease Option, for which Dynamic paid Pinney

$1,000, Dynamic acquired the “exclusive right and option to acquire the [s]olar [r]ights for a

period of eighteen (18) months” which “may be extended for an additional six months.” Upon

exercising its option, Dynamic would have the right to lease the Dynamic Parcel for an initial 25-

year term plus two additional five-year terms at Dynamic’s election. In exchange, Dynamic

would pay “an annual rent that is equivalent to $5,360 per MW DC capacity (approximately




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$1000 per acre),” with “an annual increase of one percent (1.0%) on each anniversary of the Site

Lease’s effective date.”

       27.     The parties agreed that Dynamic would exercise its option by notifying

Szymanski.

       28.     Pinney executed the Dynamic Lease Option on June 23, 2016, and Dynamic

countersigned on July 7, 2016. Dynamic sent Pinney a check for $1,000, which he cashed or

deposited on or about September 20, 2016.

Dynamic Expends Resources and Obtains Grants in Reliance on the Dynamic Lease Option

       29.     Upon securing the exclusive right to the Dynamic Parcel, Dynamic began the

costly and time-consuming process of applying for the necessary infrastructure upgrades and

New York State grants.

       30.     For example, Dynamic invested substantial time and money to complete and

submit a detailed application to the New York State Energy Research & Development Authority

(“NYSERDA”) to obtain an incentive award to construct a solar project on the Property.

       31.     NYSERDA granted Dynamic the incentive award “in the amount of

$1,051,655.44” to develop a solar project on the Subject Property. These funds, which were

awarded on or about September 22, 2016, were essential for Dynamic to profitably develop its

solar project on the Subject Property. The grant, however, was restricted: it could be used only

on the Subject Property.

       32.     Dynamic also invested substantial time and money to secure utility studies and to

apply to the New York State Electric and Gas Corp. (“NYSEG”) for an “interconnection” on the

Subject Property. An “interconnection” is a physical connection between a photovoltaic power




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station and the utility company’s wires that allows companies like Dynamic to send electricity

from its solar arrays back into the electricity grid.

Pinney Leases the Dynamic Parcel to Sun8

        33.     Even as Dynamic was investing time and money and pursuing state grants that

could only be used at the Subject Property, Pinney pursued other suitors to lease the same land

he had already promised to Dynamic.

        34.     On or about June 23, 2016—the very day he executed the Dynamic Lease

Option—Pinney signed a non-binding Letter of Intent setting the terms of a potential agreement

with Sun8 to lease an 11-acre parcel on the approximately 157-acre Subject Property. This

would have left enough room on the Subject Property for both companies, but over the next few

months, Pinney and Sun8 expanded their plans.

        35.     On or about October 11, 2016, Pinney and Sun8 signed the Sun8 Lease for a

parcel on the Subject Property of approximately 49.1 acres.

        36.     Upon information and belief, after signing its initial lease, Sun8 applied to install

an interconnection point to the electrical grid on the Subject Property. When it did so, Sun8 was

told that there was another applicant ahead in line on the same property. Thus, Sun8 was on

notice that Pinney had leased a portion of the Subject Property to another solar developer.

        37.     Nevertheless, in approximately January 2017, Sun8 and Pinney explored a further

expansion of their lease agreement. On or about January 29, 2017, Pinney and Sun8 executed an

Amendment to the October 2016 lease agreement. The amended Sun8 Lease was for the entire

Subject Property, which necessarily subsumed the Dynamic Parcel.




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Dynamic Exercises Its Lease Option and Pinney Refuses to Honor It

       38.     Pinney, however, did not inform Dynamic that he had leased the Dynamic Parcel

to Sun8. On January 31, 2017, Dynamic exercised its option to lease the Dynamic Parcel in

accordance with the notice provision contained in the Dynamic Lease Option. In addition to

informing Pinney and Szymanski in writing that it was exercising its option, Dynamic also

provided them with a draft proposed lease agreement. Upon information and belief, Szymanski

delivered both of these documents to Pinney.

       39.     On or about February 14, 2017, Szymanski admitted to Dynamic that Pinney had

leased the Dynamic Parcel to Sun8.

       40.     Dynamic contacted Sun8 the same day, informing Sun8 that Pinney had leased

the same land to two different companies, and seeking a good-faith discussion about how to

proceed.

       41.     Over the next several weeks, Dynamic, Pinney, and Sun8 engaged in

communications regarding the conflicting Dynamic Lease Option and the Sun8 Lease. After

Dynamic had an opportunity to review a map of the land leased to Sun8, it notified Pinney of the

direct conflict between the Dynamic Lease Option and the Sun8 Lease. Dynamic pressed

forward with exercising its option, and on March 6, 2017, Szymanski hand-delivered to Pinney

the notice from Dynamic that it was exercising its option, as well as a draft lease agreement.

       42.     On that very same day, March 6, 2017, notwithstanding the fact that Pinney and

his counsel, Charles Guttman, knew that the Dynamic Parcel was subsumed by the land being

leased to Sun8 in the Sun8 Lease, Guttman filed an instrument to record the Sun8 Lease for

Sun8’s benefit.




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       43.     On March 24, 2017, Pinney convened a conference call with representatives from

both Dynamic and Sun8. Although Pinney admitted on this call that he had entered into, and

was obligated by, the Dynamic Lease Option, he refused to fulfil his obligations by leasing the

Dynamic Parcel to Dynamic.

       44.     On April 28, 2017, Guttman issued Sun8 an estoppel certificate stating that “to

the best of [his] knowledge ... the [Sun8 Lease] has priority over any other lease[.]”

       45.     In short, Pinney, acknowledging that he entered into dueling contracts, cleared the

way for Sun8 and refused to adhere to his obligations in the Dynamic Lease Option. Each of

these actions were taken in breach of the Dynamic Lease Option.

Pinney’s Breach of Contract Caused Substantial Losses to Dynamic

       46.     By virtue of Pinney’s breach of contract, Dynamic lost all of the investment of

time, money, and resources expended for the project. It also lost the NYSERDA grant.

       47.     Dynamic also lost an estimated $1,575,664 that it would have earned as an

engineering, procurement, and construction contractor on the solar development.

       48.     Dynamic also lost future profits that it was reasonably certain to obtain, or, in the

alternative, the loss of value of the completed solar development.

       49.     Dynamic is an experienced solar developer. It has developed more than 100 solar

projects such as the one planned on the Subject Property. Dynamic can profit in several ways,

including (a) by selling the electricity back into the energy grid or (b) by selling or leasing the

solar farm to another party.

       50.     In the first approach, selling the electricity back into the energy grid, Dynamic’s

lost profits include the net value of the solar power that Dynamic would have sold over the life of




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the lease. Dynamic’s lost profits exceeded $5,000,000 for the first 25 years of the proposed

lease.

         51.   A viable secondary market also exists for Dynamic to have chosen the second

approach, selling or leasing the solar farm to another party.     Over the life of the lease these

operating rights would have been worth at least $4,000,000.

                             The Sun Defendants’ SLAPP Lawsuit

Sun8 Becomes a “Public Applicant” by Applying for Town Permits and Zoning Approvals

         52.   Upon information and belief, the Sun8 Lease allowed it to develop up to and

including the entire Subject Property. This is approximately ten times larger than the Dynamic

Parcel, which was approximately 15 acres.

         53.   Under the relevant laws and regulations in existence at the time of the execution

of the Sun8 Lease, Sun8 was required to seek zoning, Town Board, and Planning Board approval

before developing its planned solar project on the Subject Property.          To that end, upon

information and belief, Sun8 and Distributed Sun submitted to governmental bodies at least five

separate applications for site plan approval and subdivision approval, and for at least one special

use permit, which was submitted in the name of “Sun8 PDC LLC (C/O Distributed Sun, LLC)”.

Distributed Sun also appeared and participated in public meetings and hearings in connection

with these applications.

         54.   On March 16, 2017, the day the Town Board was scheduled to consider an

application by the Sun Defendants at a public meeting, Dynamic emailed the Dryden Town

Supervisor Jason Leifer in his capacity as an elected official. The communication informed the

Town Supervisor about the existence of the Dynamic Lease Option. It stated that Dynamic had

only recently learned about the Sun8 Lease, and that Dynamic was trying to reach a resolution




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with Sun8. The communication requested that the Town not take action on Sun8’s application

until Dynamic and Sun8 had an opportunity to resolve their dispute.

       55.       Upon information and belief, Sun8’s applications were approved in August 2017.

After a subsequent legal challenge by a third party unrelated to the instant action, the New York

Supreme Court, Tompkins County, found that between February 2017 and August 2017, “the

Town Board, Planning Board and other municipal organizations held meetings in connection

with the proposed solar project. Those meetings culminated in the Town Board granting a

Special Use Permit and Site Plan approval on August 17, 2017, and the Planning Board

approving the Subdivision Preliminary Plat on August 24, 2017.” Willow Glen Cemetery Ass’n

v. Dryden Town Board, Index No. EF2017-0208 (Sup. Ct. Tompkins Cty. Dec. 22, 2017)

(Faughnan, J.)

       56.       By virtue of the forgoing, Distributed Sun and Sun8 were “public applicants or

permittees” within the meaning of the New York Civil Rights Law §§ 70-a and 76-a.

Sun8 Threatens to Punish Dynamic by Filing a Harassing SLAPP Lawsuit

       57.       On or about October 25, 2017, Dynamic’s counsel issued document preservation

notices by e-mail and overnight mail to Pinney and Sun8.

       58.       Dyanmic sent the document preservation notices in anticipation of litigation

against Pinney for breach of contract and other related claims.

       59.       The following day, on or about October 26, 2017, the CEO of Distributed Sun,

Chase Weir (“CEO Weir”), placed two calls to Dynamic.

       60.       The first call was to Cheryl Cramer, the Senior Business Development Manager at

Dynamic, and the second call was to Michael Perillo, Dynamic’s CEO.




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        61.     Cramer was not at her desk and missed the initial call, but saw the missed call on

her phone and dialed the number back when she returned from lunch.

        62.     CEO Weir spoke to Cramer in an angry manner. Among other hostilities, he told

Cramer that Dynamic “has done a bad action.” He then slammed the phone down and hung up.

        63.     On the call with Perillo, CEO Weir was threatening and hostile.

        64.     CEO Weir asked Perillo, in substance, whether Perillo had authorized the

document preservation letter. Perillo responded, in substance, that he did not want to discuss the

letter or the matter.

        65.     CEO Weir then told Perillo, in substance, that Distributed Sun had already spent

$70,000 in June and/or July 2017 (while Sun8’s applications for permits and zoning approvals

were still pending) drafting a lawsuit against Dynamic for “tortious interference.”

        66.     CEO Weir further told Perillo that he now planned to file the lawsuit the next day,

which was Friday, October 27, 2017.

        67.     CEO Weir claimed he was prepared to spend $500,000 to litigate his lawsuit.

        68.     CEO Weir concluded by telling Perillo, “I’m going to f@$% you up. I’m going

to f@$% you.”

Distributed Sun and Sun8 Files a SLAPP Suit Against Dynamic

        69.     CEO Weir made good on his threat to punish Dynamic. Just as CEO Weir stated

to Perillo, the Sun Defendants filed the Sun8 Lawsuit against Dynamic on October 27, 2017.

        70.     And just as CEO Weir stated to Perillo, one of the causes of action was the TIWC

Claim that Distributed Sun and Sun8 had drafted during the period of its public applications.

The core of Sun8’s TIWC claim, in fact, focused on Dynamic’s alleged engagement with elected

officials and others during the Sun Defendants’ application process.




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       71.     For example, that cause of action alleged, plainly and clearly, that “Dynamic’s

wrongful behavior included contacting town officials, members of the Dryden Planning Board

and/or Town Board, and town residents for the purpose of obstructing, opposing, and interfering

with the permitting process for Plaintiff’s solar project.”

       72.     The lawsuit also alleged that Dynamic “actively provoked opposition from town

residents against Plaintiff’s solar project and worked to disrupt the town permitting process.”

       73.     Accordingly, the Sun8 Lawsuit, and the TIWC Claim in particular, was

“materially related to any efforts by the defendant [Dynamic] to report on, comment on, rule on,

challenge, or oppose” the Sun Defendants’ public applications, within the meaning of New York

Civil Rights Law §§ 70-a and 76-a.

       74.     Moreover, because the Sun Defendants were public applicants, Sun8’s Lawsuit

against Dynamic constituted an “action involving public petition and participation” within the

meaning of New York Civil Rights Law §§ 70-a and 76-a.

       75.     Sun8 further admitted in its opposition to Dynamic’s motion to dismiss that it had

filed a SLAPP lawsuit, stating that “Sun8 has alleged that Dynamic spoke actionably and

tortiously to the Town of Dryden and others”; that Dynamic’s “misuse of … government

processes has caused various governmental and private actors to take or not take actions, to the

detriment Sun8’s [sic] ability to pursue its project”; and that “the protracted duration of the Town

Board and Planning Board proceedings have affected Sun8’s ability to raise capital from

investors for the venture.” Opp. Mem. At 2, 20, 24-25.

The Sun8 Lawsuit Had No Basis in Fact or Law, and Caused Dynamic Substantial Damage

       76.     As described below, Sun8’s TIWC Claim was logically and factually incoherent.

It could not possibly have had a substantial basis in fact and/or law, nor could it possibly be

supported by a substantial argument for the extension, modification, or reversal of existing law.


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       77.     In fact, the claim was so nonsensical that Sun8 eventually withdrew it, but only

after Dynamic was forced to incur substantial costs filing, fully briefing, and preparing for oral

argument on a motion to dismiss. Additionally, Sun8 violated New York’s automatic stay of

discovery during a pending motion to dismiss by subpoenaing two non-party witnesses for

deposition testimony concerning its TIWC Claim.           When Sun8 refused to withdraw those

subpoenas, Dynamic had to apply for relief from the Court, which also resulted in substantial

costs. The Court agreed with Dynamic and signed an order confirming the stay of discovery.

       78.     The core elements of a tortious interference with contract claim are (1) a valid,

existing contract between the plaintiff and a third-party; (2) the defendant’s knowledge of the

contract; (3) intentional and improper conduct by the defendant; (4) through which the defendant

procures; (5) the third-party to breach his contract; (6) resulting in damages.

       79.     Sun8 alleged only one of these elements: that the valid, existing contract at issue

was the Sun8 Lease between Sun8 and Pinney, which was initially executed in October 2017.

Sun8 did not satisfy a single additional element necessary to make a prima facie case. For

example:

               a.      Sun8 admitted that Pinney had fully performed on the contract by

                       delivering the property to Sun8, even favoring the Sun8 Lease at

                       Dynamic’s expense. Thus, there was no actual breach by Pinney (fifth

                       element). Sun8 alleged only that Pinney made misrepresentations when

                       executing the Sun8 Lease—namely, he neglected to tell the Sun

                       Defendants about the Dynamic Lease Option—which Sun8 styled as a

                       “breach of contract.”




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               b.      Of course, Dynamic could not have procured such a breach (fourth

                       element), because Dynamic signed the Dynamic Lease Option months

                       earlier.

               c.      Dynamic also therefore could not have known about the Sun8 Lease

                       (second element) when it signed the Dynamic Lease Option, because the

                       Sun8 Lease did not yet exist.

       80.     Sun8 not only failed to allege that Dynamic knowingly induced a breach of

contract, it also failed to allege that Dynamic used wrongful means to do so (fourth element).

That failure is hardly accidental. The fundamental constitutional rights to freedom of speech,

petitioning the government, and of assembly that underlie Civil Rights Law §§ 70-a and 76-a,

also foreclose, under settled and longstanding law, Sun8’s claim that Dynamic “tortiously

interfered” with Sun8’s permit and zoning applications by engaging in public participation, such

as contacting government officials and organizing popular opposition to Sun8’s application.4



       4
          Such acts are constitutionally protected and immunized from tort liability by the Noerr-
Pennington doctrine. See E. R. R. Presidents Conf. v. Noerr Motor Freight, Inc., 365 U.S. 127,
127 (1961); United Mine Workers of Am. v. Pennington, 381 U.S. 657, 657 (1965); Cal. Motor
Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 510 (1972). Numerous New York state and
federal decisions have held that Noerr-Pennington forecloses Dyanmic’s TIWC Claim as a
matter of law. See, e.g., Bath Petroleum Storage, Inc. v. Mkt. Hub Partners, L.P., 229 F.3d
1135, 1135 (2d Cir. 2000) (“Noerr Pennington immunity is applicable to . . . state-law claims
such as fraud and tortious interference”); Alfred Weissman Real Est., Inc. v. Big V Supermarkets,
Inc., 268 A.D.2d 101, 107 (2d Dep’t 2000) (noting the Doctrine’s expansion to protect the
“petitioning of the government from claims brought under Federal and State law, including . . .
tortious interference with contractual relations”); Concourse Nursing Home v. Engelstein, 278
A.D.2d 35, 35 (1st Dep’t 2000) (same); EDF Renewable Dev., Inc. v. Tritec Real Est. Co., Inc.,
147 F. Supp. 3d 63, 63 (E.D.N.Y. 2015), lv dismissed, (2d Cir. 2016) (dismissing complaint
because the Noerr Pennington doctrine barred solar developer’s tortious interference with
contract claim); Icahn v. Raynor, 32 Misc. 3d 1224(A), 2011 WL 325041 at *5, N.Y. Slip Op.
51416(U) (Sup. Ct. N.Y. Cty. June 16, 2011) (“The Noerr-Pennington doctrine also bars
Plaintiffs’ claim for tortious interference with contract based upon . . . a petition of a government
agency”), aff’d, 99 A.D.3d 546, 547 (1st Dep’t 2012); Caesars Ent. Operating Cop. V.
Appaloosa Inv. Ltd. P’ship I, 48 Misc. 3d 1212(A), 2015 WL 4430268 at *5-6, 2015 N.Y. Slip


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       81.     Thus, Sun8’s TIWC allegations, which sought damages based upon activity

protected by New York’s anti-SLAPP statutes, could never have supported a claim for tortious

interference with contract.

       82.     Accordingly, Dynamic is entitled to attorney’s fees and costs under New York’s

anti-SLAPP laws, both for the defense of the Sun8 Lawsuit as well as for this action seeking

recovery of damages.

The Sun Defendants Commenced the Sun8 Lawsuit to Harass, Punish, or Otherwise
Maliciously Inhibit Dynamic’s Free Exercise of Speech, Petition, or Association Rights,
Causing Dynamic Substantial Damage

       83.     Notably, the Sun8 Lawsuit alleged that Dynamic’s “tortious conduct” extended

farther than simply its single communication with the Town Supervisor on March 16, 2017,

described above. The Sun8 Lawsuit alleged that Dynamic “contact[ed] town officials, members

of the Dryden Planning Board and/or Town Board, and town residents,” and “actively provoked

opposition from town residents.” These are all allegations of Dynamic engaging in the “free

exercise of speech, petition, or association rights” within the meaning of New York Civil Rights

Law §§ 70-a.

       84.     The Sun Defendants have admitted that the purpose of the Sun8 Lawsuit was to

harass, intimidate, or punish Dynamic for engaging in the free exercise of its speech, petition, or

association rights, or to otherwise inhibit Dynamic’s free exercise of those rights, within the

meaning of New York Civil Rights Law §§ 70-a.

       85.     This is apparent from various statements made by Sun8 and CEO Weir, as well as

the incoherent nature of the TIWC Claim and the Sun8 Lawsuit.


Op. 51095(U) (Sup. Ct. N.Y. Cty. July 20, 2015) (dismissing claim predicated upon allegedly
false statements made to administrative body because “[b]oth the First and Second Departments
have expressly held that the Noerr-Pennington doctrine applies to common law tort claims,”
including tortious interference with contract).


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         86.   As noted above, the Sun Defendants blamed Dynamic for its public participation,

which, in the Sun Defendants’ judgment, had caused delays in their public applications process.

         87.   By the time the Sun Defendants filed the Sun8 Lawsuit in October 2017, upon

information and belief, their public applications had already long been approved. Remarkably,

however, the Sun Defendants continued to assert in court papers filed in the Sun8 Lawsuit that

Dynamic had caused the Town Board and Planning Board proceedings to be protracted, and that

as a consequence, Dynamic was to blame for Sun8’s inability to raise capital from investors.

         88.   The Sun Defendants’ vindictiveness was on full display when CEO Weir called

two employees of Dynamic on October 26, 2017 and threatened to bring a “tortious interference”

lawsuit to “f@$% [Dynamic] up.” He said he was prepared to spend $500,000 to accomplish

this.

         89.   The next day, Distributed Sun caused Sun8 to file the Sun8 Lawsuit. The Sun

Defendants could not have believed they would prevail on the frivolous and unintelligible TIWC

Claim. The goal, upon information and belief, was simply to punish Dynamic for opposing

Sun8’s permit applications. Based on the forgoing, and upon information and belief, the Sun

Defendants filed the Sun8 Lawsuit only to punish Dynamic for its earlier public participation.

         90.   Accordingly, upon information and belief, the purpose of the Sun8 Lawsuit was to

harass, intimidate, or punish Dynamic for its public participation, or to otherwise maliciously

inhibit Dynamic’s free exercise of its speech, petition, or association rights.

         91.   On June 6, 2018, Dynamic’s motion to dismiss the entire Sun8 Lawsuit was

granted, and the court ordered the dismissal on June 27, 2018.

         92.   By reason of the forgoing, Dynamic is entitled to compensatory damages and

punitive damages from the Sun Defendants.




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                                FIRST CLAIM FOR RELIEF
                             Breach of Contract -- Against Pinney

         93.   Plaintiff repeats and re-alleges paragraphs 1 through 92 as if fully set forth herein.

         94.   Dynamic and Pinney entered into the Dynamic Lease Option, an enforceable

contract.

         95.   Dynamic performed on its obligations under the Dynamic Lease Option by,

among other things, making a $1,000 payment to Pinney.

         96.   Pinney breached the Dynamic Lease Option, including by leasing the same land

to Sun8, thereby rendering his performance impossible. Pinney further materially breached the

Dynamic Lease Option when his attorney, Guttman recorded the Sun8 Lease — which covered

land that Pinney was contractually obligated to lease to Dynamic – with the Tompkins County

Clerk.

         97.   Pinney also failed to perform on his obligations under the Dynamic Lease Option

because he refused to negotiate or enter into a lease with Dynamic after Dynamic exercised its

option, and otherwise refused to honor Dynamic’s notice that it was exercising its option.

         98.   As a result of the foregoing, Dynamic suffered damages, including:

               a.     The wasted costs associated in developing the solar project, including

                      without limitation, costs associated with Dynamic’s due diligence,

                      application for an interconnection, application for the NYSERDA grant,

                      and other costs including for the value of its employees’ time spent

                      developing the project, in an amount to be determined at trial;

               b.     The amount of the NYSERDA grant, $1,051,655.44, which Dynamic

                      obtained for use at the Subject Property but is no longer available;




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               c.      Lost development profits of $1,575,664 as the engineering, procurement,

                       and construction contractor of the solar development;

               d.      Lost energy sales profits in an amount to be determined at trial, but no less

                       than $5,070,947; and

               e.      In the alternative to the loss of energy sales profits in (d), the loss of the

                       value of the solar project’s operating rights in an amount to be determined

                       at trial, but no less than $4,000,000.

       99.     Because the Dynamic Lease option expressly contemplated the development of

the solar project by Dynamic, the damages suffered by Dynamic were within the contemplation

of the parties at the time the contract was made.

                             SECOND CLAIM FOR RELIEF
   Filing a Strategic Lawsuit Against Public Participation -- Against the Sun Defendants

       100.    Plaintiff repeats and re-alleges paragraphs 1 through 99 as if fully set forth herein.

       101.    Distributed Sun and Sun8 were public applicants or permittees within the

meaning of the New York Civil Rights Law §§ 70-a and 76-a.

       102.    Distributed Sun caused Sun8 to sue Dynamic, and Sun8 did so, by filing the Sun8

Lawsuit on October 27, 2017, in New York Supreme Court, Tompkins County.

       103.    The Sun8 Lawsuit was “materially related to any efforts by the defendant

[Dynamic] to report on, comment on, rule on, challenge, or oppose” Distributed Sun and Sun8’s

public application, within the meaning of New York Civil Rights Law §§ 70-a and 76-a.

       104.    The Sun8 Lawsuit, and in particular the TIWC Claim, was commenced and

continued (including by seeking discovery, opposing a motion to dismiss, filing a proposed order

to lift the stay of discovery, and engaging in other costly and unnecessary litigation) by

Distributed Sun and Sun8 without a substantial basis in fact or law, nor could it have been



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supported by a substantial argument for the extension, modification, or reversal of existing law.

Accordingly, Dynamic is entitled to costs and attorney’s fees under New York Civil Rights Law

§ 70-a(a).

       105.     Additionally, the Sun8 Lawsuit was commenced and continued (including

engaging in expensive motion practice, as noted above) by Distributed Sun and Sun8 for the

purpose of harassing, intimidating, punishing, or otherwise maliciously inhibiting the free

exercise of Dynamic’s speech, petition, or association rights. Accordingly, Dynamic is entitled

to compensatory damages in accordance with New York Civil Rights Law §§ 70-a(b).

       106.     Furthermore, harassing, intimidating, punishing, or otherwise maliciously

inhibiting the free exercise of Dynamic’s speech, petition, or association rights was the sole

purpose of Distributed Sun and Sun8 commencing and continuing (including engaging in

expensive motion practice) the Sun8 Lawsuit. Accordingly, Dynamic is entitled to punitive

damages in accordance with New York Civil Rights Law § 70-a(c).

                                      PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays that the Court award:

       a. Damages from Pinney for the wasted costs associated in developing the solar project,

             including without limitation, Dynamic’s due diligence, application for an

             interconnection, application for the NYSERDA grant, and other costs, in an amount

             to be determined at trial;

       b. Damages from Pinney for the value of Dynamic’s time spent developing its planned

             solar project, in an amount to be determined at trial;

       c. Damages from Pinney in the amount of $1,051,655.44, constituting the value of the

             NYSERDA grant that Dynamic obtained for use at the Subject Property but lost due

             to Pinney’s breach of contract;


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        d. Damages from Pinney constituting the lost development profits Dynamic was

            reasonably certain to earn as the engineering, procurement, and construction

            contractor for the solar development, in an amount to be determined at trial;

        e. Damages from Pinney for the value of the energy sales profits from Dynamic’s

            planned solar project that it lost due to Pinney’s breach of contract, in an amount to

            be determined at trial;

        f. Damages from Pinney for the loss of value not realized from Dynamic’s planned

            solar project, in an amount to be determined at trial;

        g. Costs and attorney’s fees of defending the Sun8 Lawsuit, from Distributed Sun and

            Sun8;

        h. Costs and attorney’s fees of preparing and prosecuting the Second Cause of Action in

            the instant proceeding, from Distributed Sun and Sun8;

        i. Compensatory Damages from Distributed Sun and Sun8, in an amount to be

            determined at trial;

        j. Punitive Damages from Distributed Sun and Sun8, in an amount to be determined at

            trial;

        k. Reasonable attorneys’ fees and costs incurred in connection with recovering damages

            owed to Plaintiff;

        l. An award of costs and prejudgment interest under CPLR 5001 et seq.; and

        m. Any additional relief that this Court deems just, equitable, and proper.


                                          JURY DEMAND

Plaintiff demands trial by jury of all claims triable to a jury in this action.




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       Dated: New York, New York                BOND, SCHOENECK & KING, PLLC
       July 27, 2018

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